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                                                                              FILED
                                                                      U.S. DISTRICT COUR
                 IN THE UNITED STATES DISTRICT COURT                        AUGUSTA DIV.
              FOR THE SOUTHERN DISTRICT OF GEORGIA                    ?QlfiWnV-8 AM 9'00
                                DUBLIN DIVISION

                                                                     p| pp|< O.ArQo.*.^
                                                                         50.DIST. OF GA.
UNITED STATES OF AMERICA               *
                                       *


            V.                         *         CR 315-013
                                       *


SUSAN ALLANA REGISTER                  *




                                  ORDER




       On June 21, 2016, this Court sentenced Defendant Susan

Allana Register to 70 months imprisonment upon her guilty plea

to    conspiracy    to    distribute       and   possess      with   intent     to

distribute methamphetamine.            On October 31, 2016, the Court

received a letter from Defendant asking that the time she has

served in a local county jail be counted toward her federal

sentence.        She     also    complains       that   she    has    not     been

transferred into the custody of the United States Bureau of

Prisons ("BOP").^

       Matters of credit for time served and other length of

sentence determinations are better directed to the BOP and not

this Court.      Indeed, the BOP has the power to designate the

housing state facility nunc pro tune as the place of federal

confinement so that a defendant may gain credit against a


      ^  The Clerk docketed the letter as a motion to modify
her   federal sentence.    Yet, Defendant is not seeking a
sentence    modification so much as              a   clarification     that her
county jail time will count toward her federal sentence.
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federal sentence for the time served in the state facility.

However, this is a decision within the discretion of the BOP.

Any judicial challenge to the BOP's decision must be brought

under 28 U.S.C. § 2241 in the district of confinement rather

than in the sentencing court.        Fernandez v. United States. 941

F.2d 1488, 1495 (11th Cir. 1991).

      As of the date of this Order, Defendant is in transit to

a BOP facility.       Once she is in said facility, she is advised

to direct her inquiries about time served in the county jail

toward BOP officials.         If she has some dispute, Defendant must

exhaust her administrative remedies with the BOP before she


can   bring   a   §    2241    challenge   in   the   district   of   her

confinement.      In short, this Court cannot help Defendant in

this matter at this point, and in fact, her plea to any court

is premature.

      Upon the foregoing, Defendant's present motion (doc. no.

328) is hereby DENIED.

      ORDER ENTERED at Augusta, Georgia, this              ^     da-Y of
November, 2016.




                                 UNITED STATES        RICT JUDGE
